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 NOT FOR PUBLICATION

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

 ____________________________________
                                     :
 ALASKA ELECTRICAL PENSION           :
 FUND, et al., On Behalf of Themselves
                                     :
 and All Others Similarly Situated,  :
                                     :
                   Plaintiffs,       :                 Civil No. 03-1519 (AET)
                                     :
       v.                            :                 MEMORANDUM OPINION
                                     :
 PHARMACIA CORPORATION, et al.,      :
                                     :
                   Defendants.       :
 ____________________________________:

 THOMPSON, U.S.D.J.

        This matter comes before the Court upon Plaintiffs’ Motion for Class Certification

 pursuant to Fed. R. Civ. P. 23, Plaintiffs’ Motion to Seal Materials, and Defendants’ Cross-

 Motion to Strike New Materials Submitted by Plaintiffs in Their Reply (“Cross-Motion to

 Strike”). The Court has decided these motions after reviewing the submissions of the parties and

 hearing oral argument on January 12, 2007. For the reasons stated on the record and discussed in

 this Memorandum Opinion, and for good cause shown, Plaintiffs’ Motion for Class Certification

 is granted except with respect to the end of the class period, Plaintiffs’ Motion to Seal Materials

 is denied, and Defendants’ Cross-Motion to Strike is denied.1

                                          BACKGROUND

        This litigation arises from the Defendants’ efforts to change the labeling of Celebrex in



        1
                Plaintiffs’ Motion to Seal Materials and Defendants’ Cross-Motion to Strike were
 denied in court on January 12, 2007; this ruling is memorialized in the accompanying Order.
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 order to promote Celebrex’s perceived gastrointestinal (“GI”) advantages. Toward that end,

 Defendants commissioned the Celecoxib Long Term Arthritis Safety Study (“CLASS”).2

 Plaintiffs allege that, in the course of interpreting CLASS data, promoting the perceived GI

 advantages of Celebrex allegedly demonstrated by CLASS, and defending the results of CLASS

 from outside critics, Defendants made false and misleading statements in violation of sections

 10(b) and 20(a) of the Securities Exchange Act of 1934, 15 U.S.C. §§ 78j(b) and 78t(a), and Rule

 10(b)(5), 17 C.F.R. § 240.10-b(5). Plaintiffs claim that the allegedly false and misleading

 statements artificially inflated the price of Defendant Pharmacia Corporation’s common stock,

 thereby injuring Plaintiffs and the proposed class of investors.3 Plaintiffs move this Court to

 certify a class of common stock holders, lead and liaison counsel, and a proposed class period

 starting on April 17, 2000 and ending on May 31, 2002.

        Plaintiffs also ask this Court to unseal certain documents (“Documents”), disclosed by

 Defendants during discovery and discussed by Plaintiffs in their Reply Brief. The Documents

 were sealed pursuant to a protective order entered on June 26, 2004. Defendants argued that the

 Documents involved protected self critical analysis, and cross-moved to strike portions of the

 Plaintiffs’ Reply Brief in which Defendants allege that Plaintiffs introduced new arguments and

 materials. Defendants further argue that the portions should be stricken because they improperly


        2
                 CLASS compared Celebrex to two commonly used NSAIDs, ibuprofen and
 diclofenac in a study group of approximately eight thousand patients, four thousand receiving
 Celebrex and two thousand each receiving ibuprofen and diclofenac respectively. CLASS
 tracked the incidence of GI problems in each group to determine if Celebrex resulted in less GI
 distress than the comparators. While Defendants reported results after six months, CLASS lasted
 up to fifteen months versus ibuprofen and twelve months versus diclofenac.
        3
                 Defendants argued that holders of Pharmacia bonds and preferred stock cannot be
 certified as part of the proposed class. Plaintiffs conceded this point.

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 rely on the protected Documents.

                                            DISCUSSION

        In order for a class to be certified, a plaintiff must satisfy the prerequisites of Fed. R. Civ.

 P. 23(a), and must also demonstrate that the action qualifies as a class action under at least one of

 the three subdivisions of Fed. R. Civ. P. 23(b). Barnes v. Am. Tobacco Co., 161 F.3d 127, 140

 (3d Cir. 1998). The Court does not conduct a preliminary investigation of the merits, but curtails

 its determination to the requirements of Fed. R. Civ. P. 23. Id. Although the Court should

 “rigorously analyze” the allegations of the complaint relating to the maintainability of the action

 as a class action, Osgood v. Harrah’s Entm’t, Inc., 202 F.R.D. 115, 120 (D.N.J. 2001), it need not

 “resolve disputed issues” at this stage of the case. In Re Honeywell Int’l Inc., Sec. Litig., 211

 F.R.D. 255, 264 (D.N.J. 2002) (“Honeywell”).

 A.     Qualification under Fed. R. Civ. P. 23

        Defendants make a two-pronged attack on the Plaintiffs’ proposed class. First,

 Defendants argue that Plaintiffs fail to show that issues common to the class predominate, as

 required by Fed. Civ. R. 23(b). Specifically, Defendants argue that the Plaintiffs may not rely on

 the “fraud on the market” theory because the alleged misrepresentations were not “material.”

 Second, Defendants attack the qualifications of the proposed representative Plaintiffs,

 (“Representatives”). Specifically, they argue that the Representatives do not satisfy the

 requirements of Fed. R. Civ. P 23(a)(3) (the “typicality requirement”) or 23(a)(4) (the “adequacy

 requirement”).

        1.        Rule 23(b)

        Defendants argue that Plaintiffs failed to demonstrate that common issues predominate as


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 required by Fed. R. Civ. P. 23(b). Under the “fraud on the market” theory, Plaintiffs are entitled

 to a rebuttable presumption of reliance if they can prove that (1) Defendant made public

 misrepresentations; (2) the misrepresentations were material; (3) the shares were traded on an

 efficient market; and (4) Plaintiffs purchased shares after the misrepresentations but before the

 truth was revealed. Basic, Inc. v. Levinson, 485 U.S. 224, 248 n.27 (1988). Defendants argue

 the statements that Plaintiffs allege were fraudulent are not material or misleading, therefore

 Plaintiffs are not entitled to a presumption of reliance.

        Given the weight attached to CLASS results by Defendants and various stock analysts,

 and the fact that CLASS was widely reported in the financial and mainstream media, the Court

 finds the statements cited by Plaintiffs, including Defendants’ April 17 press release (“April 17

 Release”) to be material. Oran v. Stafford, 226 F.3d , 275, 282 (3d Cir. 2000) (citing In re

 Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1425 (3d Cir. 1997) (“Burlington”)

 (information is material if a reasonable investor would find it important when making an

 investment decision)).4

        Defendants contend that the April 17 Release cannot be material because, in an efficient

 market, materiality is measured by movements in stock price, and there was no appreciable

 uptick in Pharmacia stock on April 17th. While the parties agree that Pharmacia’s stock price

 did not move appreciably on April 17th (see, e.g., Hakala Decl. at 5), sole reliance on stock price



        4
                Defendants argue that the release of the CLASS results on April 15, 2000 and the
 April 17 press release were not misleading because the full results of the study, including the fact
 that CLASS missed its primary endpoints, were disclosed. While the Court finds the April 17
 Release to be material, inquiry into whether the April 17 Release was “misleading” goes to the
 elements of Plaintiff’s case, and resolution of this disputed issue at this stage of the litigation
 would be a disfavored “deep incursion” into the merits. Honeywell, 211 F.R.D. at 264.

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 movement ignores the possibility that other factors influenced the stock’s price. See, e.g., Steiner

 v. Medquist, Inc., 04-5487, 2006 WL 2827740, at *9 n.13 (D.N.J. Sept. 19, 2006) (citing Dura

 Pharm. Inc. v. Broudo, 544 U.S. 336, 343 (2005)). Further, it remains an open question whether

 raw price inflation is required for a statement to be deemed material. See Honeywell, 211 F.R.D.

 at 262 n.10 (stating that price inflation not required for presumption of reliance); In re Lucent

 Technologies, Inc. Sec. Litig., 217 F. Supp. 2d 529, 543-44 (D.N.J. 2002) (stock price movement

 is an “alternative standard” for measuring materiality). Finally, the disputed issue of whether the

 stock price was, or was not, affected by the April 17 Release goes to elements of Plaintiff’s case

 and demonstrates the existence of a genuine issue of material fact, thus it would be inappropriate

 to make findings at this stage of the litigation. Honeywell, 211 F.R.D. at 264; In Re Loewen

 Group Sec. Litig., 395 F. Supp. 2d 211, 217 (E.D. Pa. 2005).

        2.      Rule 23(a)

        Defendants argue that the Representatives do not satisfy the requirements of Fed. R. Civ.

 P. 23(a)(3) (the “typicality” requirement) because they did not rely on the alleged

 misrepresentations, thus they are subject to a unique defense that would threaten to be the focus

 of the litigation. The Court has found, for purposes of this Motion, that the alleged

 misrepresentations are material, therefore reliance is presumed. In re Data Access Sec. Litig.,

 103 F.R.D. 130, 138 (D.N.J. 1984) (“Data Access”) (reliance on market is reliance on

 representations); see also Burlington, 114 F.3d at 1419 n.8 (stating that plaintiffs need not show

 reliance under the fraud on the market theory). Although the Defendants offer evidence of non-

 reliance by the Representatives, the reliance issue would still predominate, and individual

 questions of reliance should not be addressed in this proceeding. Data Access, 103 F.R.D. at


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 139-40. Consequently, the class may be certified even though some Plaintiffs may be subject to

 a unique defense later. Id.

        Defendants also challenge the adequacy of representation prong under Fed. R. Civ. P.

 23(a)(4). Specifically, they allege that the Representatives are without knowledge of this case

 and have lent their names to a suit controlled by the class’s lead attorney, therefore they are

 unsuitable as class representatives. The level of knowledge of the class representative is not a

 relevant inquiry in this Circuit. See Lewis v. Curtis, 671 F.2d 779, 789 (3d Cir. 1982); Epstein v.

 Moore, No. 87-2984, 1988 WL 62213, at * 4 (D.N.J. June 13, 1988); Data Access, 103 F.R.D. at

 140-41. When a court considers adequacy, there are two distinct issues to consider: (1) the

 qualifications of the counsel to represent the class, and (2) conflicts of interest between the

 named parties and the class they seek to represent. Barnes, 161 F.3d. at 141. The first issue,

 adequacy of counsel, is not contested. As for the second issue, Defendants do not argue that

 there is a conflict of interest between the Representatives and the proposed class (although the

 same issue was discussed above in connection with the reliance defense and the alleged lack of

 typicality). The Court finds that Plaintiffs satisfy Fed. R. Civ. P. 23(a)(4).

 B.     Length of the Class Period

        Plaintiffs propose a class period of April 17, 2000 to May 31, 2002. Defendants argue

 that the class period should begin no earlier than September 13, 2000, and end no later than

 February 6, 2001. As discussed above, the Court finds the April 17 Release to be material.

 Oran, 226 F.3d at 282. Consequently, the class period will start on April 17, 2000.5


        5
                As noted, Defendants challenged the materiality and reasonableness of Plaintiffs’
 reliance. Although the Court has found the April 17 Release to be facially material, and doubts
 regarding factors such as reliance should be resolved in favor of expanding the class period, a

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        With respect to the ending date, the class period should not extend past the date upon

 which curative information becomes available. In re Exxon Mobil Corp. Sec. Litig., 387 F.

 Supp. 2d 407, 417 (D.N.J. 2005). Curative information retracts or dispels the alleged

 misinformation, or puts the investor on inquiry notice of the alleged fraud, making further

 reliance on the original statements by investors unreasonable. In re ORFA Sec. Litig., 654 F.

 Supp. 1449, 1465 (D.N.J. 1987) (“ORFA”); Data Access, 103 F.R.D. at 144. The Court finds

 that the FDA’s data release and the advisory committee ruling (“FDA Release”) constituted a

 curative disclosure as they were substantial, widely-reported, and contradicted the Defendants’

 conclusions about the results of CLASS. See, e.g., Data Access, 103 F.R.D. at 144; see also In re

 LTV Sec. Litig., 88 F.R.D. 134, 147-48 (N.D. Tex. 1980). Further, it is uncontested that this

 regulatory action caused a precipitous drop in Pharmacia’s common stock price, which is

 evidence of its curative effect. See Seremenko v. Cendant Corp., 223 F.3d 165, 181 (3d Cir.

 2000) (finding price drop supportive of curative effect finding); ORFA, 654 F. Supp. at 1464

 (same); accord In re Zenith Laboratories Sec. Litig., No. 86-3241, 1993 WL 260683, at *14-15

 (D.N.J. Feb. 11, 1993).6

        While Defendants’ post-FDA Release statements in defense of CLASS could have

 influenced investors, the Court finds that they did not outweigh the significance and effect of the




 class period may be changed by the Court later if the facts warrant it. Data Access, 103 F.R.D. at
 143.
        6
                  This conclusion is supported by Plaintiffs’ expert, who characterized the stock
 price drop from February 6th to the 8th as “extremely significant” (Hakala Decl. at 6, 22) and
 stated that “[t]hese disclosures led to doubts regarding Pharmacia’s GI safety claims for Celebrex
 and resulted in a substantial reassessment of Pharmacia’s prospects.” (Id. at 22.)

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 FDA Release and investor reaction to it.7 See Lerch, 144 F.R.D. at 253. Consequently, investors

 who purchased Pharmacia common stock on or after February 7, 2001 stood in a different

 posture than those who purchased on or prior to February 6th, in that they could no longer

 reasonably rely on Defendants’ positive statements regarding CLASS. See ORFA, 654 F. Supp.

 at 1465.

                                          CONCLUSION

        For the reasons stated on the record and discussed above, Plaintiffs’ Motion for Class

 Certification is GRANTED, EXCEPT that the class will consist of holders of record of

 Pharmacia Common Stock that purchased said stock on or between April 17, 2000 and February

 6, 2001. An appropriate Order accompanies this Opinion.



                                                           /s/ Anne E. Thompson
                                                       ANNE E. THOMPSON, U.S.D.J.

 DATE: January 22, 2007




        7
                 Plaintiffs argue that neither the FDA Release, nor any article prior to the June 1,
 2002 editorial in the British Medical Journal, alleged that Defendants committed fraud. While
 this may arguably be true, curative information need not demonstrate fraud, it need only cause a
 reasonable investor to doubt the prior statements. ORFA, 654 F. Supp. at 1465. In the
 alternative, Plaintiffs argue that Defendants perpetuated the effect of their earlier
 misrepresentations by defending CLASS against its critics. Plaintiffs rely on In re Resource Am.
 Sec. Litig., where the court found that a stock analyst’s report calling the defendant’s accounting
 into question was curative, but aggressive disputation by defendant continued the effect of the
 original misrepresentation. 202 F.R.D. 177, 185 (E.D. Pa. 2001). The Court finds, however, that
 Lerch v. Citizens First Bancorp, Inc., 144 F.R.D. 247 (D.N.J. 1992) is closer to the mark. In
 Lerch, this Court found that defensive comments by the defendants did not affect the curative
 disclosure because the disclosure came in a “barrage of news reports sufficient to outweigh
 defendants’ assurances as a matter of law.” Lerch, 144 F.R.D. at 253.

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